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IN THE CIRCUIT C()URT FOR
PRINCE GEORGE’S C()UNTY, MARYLAND

Cesar Day
14932 Nighthawk Lane

y Bowie, MD 20716

Plaintiff
v.

DB Capital Group, LLC
8237 Stoddard Drive

' Manassas, VA 20110-8309

SERVE: David A. Murrell
Registered Agent
1403 Homeric Court
McLean, VA 22101-5611

David Alan Murrell

1403 Homeric Court
McLean, VA 22101~5611

Millennium Bank, NA

z 21430 Cedar Drive, Suite 100
Sterling, VA 20164

`, SERVE: John F. Nnvak (President)

4709 Arsenal Rd., Unit 37
Ellicott City, MD 21042

~' Millennium Bankshares Corporation
21430 Cedar Drive, Suite 100
'_ Sterling, VA 20164

f SERVE: John F. Novak (President)

4709 Arsenal Rd., Unit 37
Ellicott City, MD 21042

Realty Title of Tysons, Inc.

" 2095 Chain Bridge Rd., Suite 110
` Vienna, VA 22182

SERVE: David Michalski

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Registered Agent )
7611 Little River Turnpike, Suite 101 W)
Annanda|e, VA 22003 )

Wachovia Bank, NA

' 420 Montgomery Street

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0 SERVE: Corporation Servicing Company

Resident Agent
11 South 12th Street
Richmond, Virginia 23219

Wells Fargo & Company, NA
420 Montgomery Street

San Francisco, California 94104

, SERVE: Corporation Servicing Company

Resident Agent
11 South 12th Street
Richmond, Virginia 23219

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Brian Pettiford )
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` Upper Marlboro, MD 20774-8054

Integrity Financial, Inc.

' 9507 Wal¢ham Wood Road

Baltimore, MD 21234

SERVE: Angelarose Dunn
Resident Agent
9507 Waltham Wood Road
Baltimore, Ml) 21234

Tracey L. Spain
8055 Wolsey Court, # 166
Pasadena, MD 21122-6459

Ralph D. Spain, Sr.
6804 Huntington Drive
Gwynn Oak, MD 21207-6413

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Russell V. Pettiford
3934 Southern Cross Dr., Apt. D
Pikesville, MD 21207-6431

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I)efendants.
JURISDIC'I`ION AND VENUE
l. This Court has subject matter jurisdiction over this action because, pursuant to

l\/Iaryland Code Section 6-103, defendants caused tortious injury in the State by acts or omissions
outside the State and Defendants regularly conduct or solicit business, engage in any other
persistent courses of conduct in the State or derive substantial revenue from services used in the
State, 1n addition, Det`endants have an interest in and possess real property in the State of
Maryland.

2. Venue is proper in Prince George’s County because, under Maryland Code
Section 6-202(7), a portion of the land upon Which this action is based is located in this County.

3. At all times relevant hereto, Defendant, DB Capital Group, LLC (“DB Capitai”),
Was a Virginia corporation conducting business in Maryland and the District of Colurnbia With
their principal place of business located at 8237 Stoddard Drive, Manassas, Virginia.

4. At all times relevant hereto, Defendant, David Allan Murrell (“Murrell”), Was a
resident of the Commonwealth of Virginia and Was a member/manager of DB Capital.

5 . At all times relevant hereto, Defendants, Millennium Bank, NA (“Millennium
Bank”) and Millenniurn Bankshares Corporation (“Millennium Bankshares”) (collectively
referred to herein as “l\/Iillennium”) Were nationally chartered depository banking institutions
With their principal place of business in the Commonwealth of Virginia. At all times relevant

hereto, Millennium employed and vvas responsible for the actions and/or omissions of Defendant,

 

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Brian Pettiford, who worked out ot` its 8221 Leesburg Pike, Suite 500§ Vienna, Virginia location.

6. At all times relevant hereto, Det`endant, Realty Title ot` 'I`ysons, lne., d/b/a RTS ot`
Tysons, lnc. (“RTS”), was a Virginia corporation conducting real estate settlement services and
issuing title insurance for transactions involving properties in Maryland and the District of
Columbia.

7. At all times relevant hereto, Defendants, Wachovia Bank, NA (“Wachovia Bank”) .r
and Wells Fargo & Company, NA (“Wells Fargo”) (collectively referred to herein as
“Wachovia”), were nationally chartered depository banking institutions Upon information and
belief, Wells Fargo has purchased and is the successor entity to Wachovia Bank and is
responsible for all of its liabilities and acts and/or omissions of its agents, servants and/or
employees Upon information and beliet`, Wachovia’s principal place of business is in the State
of Cal`ifornia. At all times relevant hereto, Wachovia employed and was responsible for the
actions and/or omissions of Defendant, Murrell, who worked out of its 6844 Old Dominion
Drive, McLean, Virginia branch.

8. At all times relevant hereto, Brian Pettiford was a resident of the State of
Maryland and was a member/manager of DB Capital.

9. At all times relevant hereto, Det`endant, Integrity Financial, Inc. (“Integrity”), was
a Maryland corporation engaged in the business of brokering loans for real estate transactions in
Maryland and the District of Columbia.

10. At all times relevant hereto, Det`endant, Tracey L. Spain (“Tracey Spain” or “Ms.

Spain”), was a resident of the State of Maryland.

l l. At all times relevant hereto, Det`endant, Ralph D. Spain, Sr. (“Ralph Spain” or

 

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“l\/Ir. Spain”), was a resident of the State of Maryland.

12. At all times relevant hereto, Defendant, Russell Pettiford, was a resident of the
State of l\/Iaryland.

F actual Background

13. This case arises out of a foreclosure rescue scam designed by Defendants, Brian
Pettiford, David Murrell and DB Capital Group, and which they labeled “Foreclosure Reversal
Program”. The scam was carried out through the cooperation and use of the other named
Defendants to this action, and was intended to take advantage of individuals who were in, or at
risk of, foreclosure, or were having difficulty making their monthly mortgage payments The
goal of Defendants’ common scheme was to unlawfully and through purposeful
misrepresentation and false promises, induce victims into transferring title to their properties so
that they could take possession of, and use for their unlawful gain, the significant equity found
within such properties All of the Defendants were improperly, unfairly and illegally enriched by
their knowing participation in a common enterprise which illegally took advantage of
homeowners, including Plaintiff, Cesar Day, who were in, or at risk of, foreclosure The
“Foreclosure Reversal Program” was an illegal enterprise which was made up ot`an association
in fact consisting of the named Defendants to this action, each knowingly playing an integral part
in the success of the enterprise

14. Upon information and belief, Defendants, Brian Pettiford and David Murrell,
were principals or members of Defendant, DB Capital. That entity provided or procured capital
and straw purchasers for use in real estate transactions the sole purpose of which was to illegally

and unlawfully take possession of the equity within the properties owned by their victims

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15. Defendants, Brian Pettiford and David Murrell, through the use of DB Capital,
and the services of the other named Defendants, devised a sham product they entitled
“Foreclosure Reversal Program”, the purported purpose of which was to assist property owners
in, or at risk of, foreclosure by finding a “credit investor” to conditionally purchase the property
and pay off the existing loans/liens encumbering the same. DB Capital would secure a mortgage
through a broker on behalf of, and in the name of the credit investor, and close the transaction
through a title company, both chosen by and working with DB Capital and Defendants, Brian
Pettiford and David Murrell.

16. Some of the credit investors would be recruited by Defendant, Brian Pettiford,
from individuals who would contact him for the purpose of acquiring a loan or refinancing from
Defendant, l\/lillennium.

l7. Other credit investors were recruited by Defendant, David Murrell, in his position
with Defendant, Wachovia, from the depositors or other customers of that institution

18. Both Defendants, Brian Pettiford and David Murrell would identify potential
credit investors with good credit to act as straw purchasers for the purpose of acquiring property
from owners, such as Plaintiff, with significant equity. The credit investors were told that their
homes and credit would be used to purchase such property for which they would receive a fee.
The property would then be sold back to the original owner within one year, at which time the
credit investors’ mortgage obligation would be released. The credit investors would never
actually reside in, collect rent or exercise any ownership, control or responsibility over the
properties at issue, nor would they pay any costs or mortgage payments associated with the same.

19. The property owner would be promised that DB Capital would work with them

 

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and assist them to °‘resolve their credit issues” such that they could qualify for a loan and

 

y repurchase their property within one year.
20. The property owner would also be allowed to remain as a tenant on the property
for the duration of the Foreclosure Reversal Program (typically one year) and pay rent directly to

DB Capital.

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21. ln the course of such transaction, the property owner would be presented with and

asked to sign various documents including the following:

DB Capital Group Lease/Purchase: outlining the terms, including monthly rental
payments due, and the terms of the leaseback of the property to the owners after
transfer of title.

Residential Real Estate Contract By Owner: a contract for the sale of the property
drafted by, or for, DB Capital which contained a Contract Addendum allowing the
owner to repurchase the property within one year at a set price.

Authorization: signed by the property owner describing the transaction as a
“Reverse Mortgage” and providing a specific date by which the owner must
repurchase the property This document also authorized DB Capital to pay the
“forthcoming mortgage” and for Defendant, RTS, to conduct the real estate
closing and disburse funds to DB Capital which would otherwise be due to the
property owner/seller

DB Capital Addendum to Contract, Heirs Assignment: acknowledging that the
property owner was entering into a “Foreclosure Reversal Prograin” which used

their “equity and current market appraisal” to save their home from foreclosure by

 

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using “credit investor assigned [to them] by DB Capital Group, Inc. for a period of
12-14 months”. This document also promised that, at the end of 12 months, the
prior owner would be “added back onto the Deed from sale of property” so that
they could “repurchase the house completely back into a sole ownership”. This
document specifically indicated that the owner/seller would only be taken off of
the Deed for the “duration of the Foreclosure Reversal Program”.

DB Capital Group, lnc Reversal Program/Addendum to Contract to Sell Real
Estate: outlining the length of time the property would be transferred to an
investor and requiring the owner/seller to use DB Capital for the re-finance of the
property at the end of the Foreclosure Reversal Program term. This document
also required the owner to pay all applicable broker, closing and other fees when
the property is repurchased as well as “investor fees”, “legal fees”, and the ”usury
rate of return on investment”, all of which would be deducted from the equity in
the property otherwise due to the owner/seller.

DB Capital/Reversal Contract: outlining the identity of the “credit investor” under
who’s name the property would be purchased and the sale price used for such
purchase This document also required the owner of the property to “resolve and
pay off any negative credit” through the use of a credit counselor referred by DB
Capital Group. lt also required the owner to use DB Capital Group to secure re-
financing to repurchase the property and stipulated that, if such refinancing was
not secured, or the property not repurchased, within one year (with a 60 day

courtesy extension) the contract would be null and void and the investor would

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take possession of the property

22. In reality, the purpose and effect of the DB Capital Foreclosure Reversal Program
was to identify and induce property owners, in foreclosure or at risk of foreclosure to transfer
title to their homes and investment properties for the sole purpose of acquiring, and using for
their own unlawful gain, the significant equity in such properties

23. Defendants, Brian Pettiford, David Murrell, and likely others who’s identities are
not yet known, attracted potential victims through the use of an entity they fomied, Defendant,
DB Capital. This entity advertised by use of various media including public radio airwaves
broadcast into the District of Columbia, Virginia and Maryland. Such advertisements
fraudulently represented that it could assist individuals in foreclosure or who were having
difficulty making mortgage payments, acquire financing and save their homes

24. Defendant, Brian Pettiford, also utilized his position as Vice President of
Retail/Wholesale Lending at Defendant, Millennium, to find property owners in need of financial
assistance or at risk of foreclosure whom he would counsel to enter the DB Capital Foreclosure
Reversal Program as an alternative for individuals with bad credit.

25 , Upon information and belief, Defendant, Brian Pettiford, would also use his
position at Millennium to identify customers with good credit who could be used as “credit
investors” (straw purchasers) in the Foreclosure Reversal Program scheme These individuals
would include potential Millennium customers seeking to acquire a loan, refinancing or credit
line and who would instead be steered by Defendant, Brian Pettiford, to participate in the
Foreclosure Reversal Program for a fee

26. Similarly Defendant, Murrell, would identify customers of Wachovia to

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' participate in the DB Capital Foreclosure Reversal Program either as straw purchasers or as

property owners in, or at risk of, foreclosure

27. Once such a property owner was identified Defendants, Brian Pettiford, Murrell
and DB Capital, would induce him/her into transferring the property or properties at issue to a
credit investor with the promise that they would be able to repurchase the property in
approximately one year’s time and save their home Defendants further promised that they
would assist the property owner in repairing his/her credit and in acquiring financing to allow
them to repurchase the property within one year.

28. Defendants, Brian Pettiford, Murrell and DB Capital, made such promises
notwithstanding the fact that they were fully aware that the property owners would almost
certainly not be able to qualify for a loan to repurchase the property in a year as a result of their
history of foreclosure and bad credit. Moreover Defendants, Brian Pettiford, l\/Iurrell and DB
Capital, were also fully aware that, even if the property owners could acquire a loan to repurchase y
their properties within a year, it would be at an interest rate that was likely to be significantly
higher than their current loan, resulting in higher monthly mortgage payments than those they
already could not afford.

29. Defendants also structured the transaction so that the credit investor or buyer
purchased the property for full or near full market value This was done so that all of the equity
in the property could be taken out in the form of phantom sales proceeds due to the
seller/property owner Such proceeds, however, did not go to the seller but rather was wired to a

DB Capital bank account at Wachovia opened, and maintained, with the assistance of Defendant,

Murrell, who worked at that institution

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:»O. The seller/property owner would receive little or none of the sales proceeds due to
him/her as a result oi` the transaction

3 l. The seller/owner would typically be allowed to remain on the property as a tenant
paying monthly rent, with the understanding that DB Capital would pay the monthly mortgage
payments with the seller’s proceeds (instead of the new title owner/credit investor) until such
time as the original owner repurchased the property.

32. lnstead, Defendants, Pettiford, Murrell and DB Capital, would make mortgage
payments for only a short period of time, if at all, and allow the property to go into foreclosure
Because the Mortgage was typically in the credit investor’s name, the foreclosure action was
initialed against that individual(s) who would also be solely liable for any deficiency judgement
and suffer damage to their credit.

33. The equity in the property, in the form of the net proceeds of the sale to the credit
investor, would remain in the DB Capital account for the beneiit, use and illegal gain of
Defendants, Brian Pettiford, Murrell and likely other co-conspirators. Such illegal proceeds
would also be reinvested into DB Capital and the Foreclosure Reversal Program scheme in the
form of advertising to attract other potential victims and other operational costs.

34. Det`endants, Brian Pettiford, Murrell and DB Capital, were only able to conduct
their illegal scam with the cooperation of the other named Defendants who were aware of scam
and provided integral services and assistance without which the Foreclosure Recovery Scam
could not succeed

35. After Defendants, Brian Pettiford, Murrell and DB Capital, induced a property

owner to enter their Foreclosure Reversal Program by way of false promises and fraudulent

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misrepresentation, they then identified credit investors to act as straw purchasers for the purpose
of transferring title to the property On at least one occasion Defendants, Brian Pettiford and
Russell Pettiford, purchased a property in the DB Capital Foreclosure Reversal Program
themselves

36. Defendants’ fraudulent enterprise and scheme then relied upon Defendant,
lntegrity, to broker a loan for the straw purchaser for full, or nearly full, appraisal value of the
property To do so, Defendant, lntegrity, knowingly provided or allowed to be submitted
fraudulent information on loan applications and other documents regarding the nature of the
transaction (that it was an arms-length transaction when it was not), the true identity of the real
party in interest purchasing the property (that the straw purchaser was a buyer in name only and
that the actual party in interest was DB Capital), that the transactions involved the sale of
property for adequate consideration (when indeed little or no consideration was actually paid to
the seller), and that the transfer involved a sale of property in fee simple when indeed title was
actually clouded by a sale~leaseback agreement which amounted to an equitable mortgage

37. Defendant, lntegrity, knowingly misrepresented the above facts for the sole
purpose of securing a mortgage loan on behalf of the credit investor (straw purchaser) or other
purchasers and furthering the Foreclosure Reversal Program scheme

38. Upon information and belief Defendant, lntegrity, had worked with and provided
services to Defendants, Brian Pettiford, Murrell, or DB Capital, on numerous occasions and
brokered loans for numerous properties in Defendants’ Foreclosure Reversal Program, including
the three properties owned by Plaintiff which are the subject of this Complaint. In addition,

lntegrity had previously been involved with Brian Pettiford and other Defendants in similar

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illegal foreclosure rescue schemes, the proceeds of which were used to finance and operate the
DB Capital Foreclosure Reversal Program scheme

39. Defendant, lntegrity, was well aware of the nature of such transactions and
fraudulent purpose behind the Foreclosure Reversal Prograrn. Notwithstanding such knowledge
Defendant, lntegrity, actively and knowingly played an integral part in Defendants’ common
scheme without which such scheme would not have been possible

40, Defendant, lntegrity, received significant financial compensation for its
participation in the Foreclosure Reversal Program scheme including a large amount of referrals
from DB Capital and other named Defendants and excessive fees which it was allowed to charge
for the loans which it brokered Such fees included loan origination and discount fees which, at
times, amounted to between $7,000 - $l0,0()O on loans brokered for purchasers with good credit
and who otherwise would be required to pay little or no fees for such loans on the open market.

41. Defendant, Integrity, was also allowed to charge excessive interest rates which, at
times, exceeded 12-14% for credit investors/straw purchasers with good credit. Such interest
rates were almost double what such purchasers could get on the open market and allowed
Defendant, lntegrity, to recover huge fees in the forms of yield spread premiums from the lenders
of such funds. Such fees amounted to additional thousands of dollars per transaction

42. Defendant, lntegrity’s, actions in furtherance of Defendants’ fraudulent scheme
also resulted in the securing of loan proceeds from lenders which in turn was channeled back to
Defendants, DB Capital, Brian Pettiford and l\/Iurrell, and reinvested in the Foreclosure Reversal
Program scheme.

43. Defendants’ fraudulent enterprise and scheme relied upon Defendant, RTS, to

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conduct the real estate settlements/closings for the properties involved and issued, or caused to
be issued, Deeds transferring title of properties in the Foreclosure Reversal Prograni to
Defendants’ or their straw purchasers

44. To do so, RTS knowingly or with reckless disregard and willful blindness to the
truth, generated, or caused to be generated, closing documents with false information including
federally mandated HUD~l Settlement Statements and Deeds Such documents identified the
credit investors as the purchasers of the properties involved when, in fact, RTS was well aware
that the real purchaser in interest was DB Capital and its agents

45. The HUD-l Settlement Statements prepared by RTS would also routinely indicate
that the purchaser paid various settlement costs and brought a specified amount to closing out of
pocket to purchase the property when, in fact, no such monies were brought to settlement or paid
to the sellers Similarly, RTS generated HUD-l Settlement Statements that indicated that the
seller was to receive the net proceeds of sale (as was customary) notwithstanding the fact that
they were well aware that such proceeds, or the majority of such proceeds, were re-directed to
DB Capital and the other Defendants. lndeed, such proceeds were generally directly forwarded
to DB Capital by RTS through the use of interstate wire transfers to DB Capital bank accounts

46. Defendant, RTS, also knowingly filed, or caused to be filed, Deeds in the District
of Columbia and Maryland, that contained false information regarding the consideration paid to
the sellers (indicating that the sellers received full consideration when, in fact, they received little
or none). Such Deeds were provided to or received back from the governmental entities
recording the same in Maryland and the District of Columbia by way of interstate mail.

47. Defendant, RTS’s, actions in knowingly generating, or causing to be generated

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and filed, settlement documents and Deeds containing false information was in violation of
various federal statutes, lender instruction and industry standards including, but not limited to,
the Real Estate Settlement Procedures Act (RESPA) and 18 U.S.C. §1001.

48. Defendant, RTS, knowingly generated closing documents and Deeds with false
information for the sole purpose of ensuring that the real estate settlements/closings would be
allowed to go forward in furtherance of the Foreclosure Reversal Prograrn scheme

49. Defendant, RTS, participated in the Foreclosure Reversal Program scheme by
conducting fraudulent real estate settlement/closing transactions with willful blindness, preparing
false HUD-l Settlement Statements, filing or causing to be filed Deeds containing false
information, representing to sellers that the transaction and supporting documents were accurate,
and aiding and abetting the scheme by laundering the proceeds from the settlement/closing
transactions to make the disbursements appear legitimate when, in fact, these disbursements were
illegal and for different parties than those represented on the settlement documents, which
permitted the other Defendants to evade taxes

50. Upon information and belief Defendant, RTS, had worked with and provided
services to Defendants, Brian Pettiford, l\/lurrell and DB Capital, on numerous occasions and
settled/closed dozens of real estate transactions involving Defendants’ Foreclosure Reversal
Program including the three properties owned by Plaintiff which are the subject of this litigation

51. Defendant, RTS, was well aware of the nature of such transactions and fraudulent
purpose behind the Foreclosure Reversal Program. Notwithstanding such knowledge Defendant,
RTS, actively and knowingly played an integral part in Defendants’ common scheme without

which such scheme would not have been possible

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52. Defendant, RTS, received significant financial compensation for its participation
in the Foreclosure Reversal Program scheme including a large amount of referrals from DB
Capital and other named Defendants, settlement fees and title insurance premiums

53. Defendant, RTS, also channeled fees and the proceeds of the settlements/closings
it conducted back to DB Capital and the other named Defendants which were then reinvested in
the Foreclosure Reversal Program scheme resulting in additional referrals to RTS.

54. Defendants’ fraudulent enterprise and scheme relied upon the willful participation
of credit investors/straw purchasers such as Defendants, Russell Pettiford, Tracey Spain and
Ralph Spain Sr., who knowingly and willfully allowed their names and credit to be used by
Defendants, Brian Pettiford, Murrell and DB Capital, to secure loans which would then be used
to purchase the properties in the Foreclosure Reversal Program scheme and remove the
significant equity in such properties for their own unlawful gain.

55. To do so Defendants, Russell Pettiford, Tracey Spain and Ralph Spain, knowingly
agreed to execute contracts for sale, loan applications, Deeds of Trust, closing documents, and
various other documents which falsely misrepresented that they were seeking to secure a
mortgage and purchase property in an arms-length transaction for adequate consideration paid to
the seller.

56. Defendants, Russell Pettiford, Tracey Spain and Ralph Spain, knowingly, or with
reckless disregard and willful blindness to the truth, executed such documents notwithstanding
the fact that they never paid any consideration for such properties, never lived in or exercised
ownership rights over such properties, allowed the proceeds of the loans they secured to be used

by DB Capital to take control and possession of such properties and were aware that the real

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party in interest in regards to the purchase of such properties was DB Capital and/or Defendants,
Brian Pettiford and Murrell.

57. Defendants, Russell Pettiford, Tracey Spain and Ralph Spain’s, actions were in
violation of federal and state laws in the District of Columbia and Maryland and amounted to
mortgage fraud.

58. Defendants, Russell Pettiford, Tracey Spain and Ralph Spain, allowed their
identities and credit to be used to secure loans and act as straw purchasers for the sole purpose of
furthering the Foreclosure Reversal Program scheme which, without their assistance and
participation, would not have been possible

59. Defendants, Russell Pettiford, Tracey Spain and Ralph Spain, received significant
financial compensation for their participation in the Foreclosure Reversal Program scheme
including fees in the amount of $10,000 per transaction

60. Defendants, Russell Pettiford, Tracey Spain and Ralph Spain, also secured loans
which were channeled back to Defendants, DB Capital and the other named Defendants, and
which were then reinvested in the Foreclosure Reversal Program scheme

61. Defendant, Millennium, employed Defendant, Brian Pettiford, as the Vice
President of their retail/wholesale lending division Defendant, Pettiford, used his position at
Millennium to recruit credit investors/straw purchasers and property owners to his Foreclosure
Reversal Program scheme Defendant, Pettiford, also utilized the offices and equipment of
Millennium to meet with credit investors and property owners, sign necessary paperwork and
agreements, run credit checks and otherwise conduct the business of DB Capital, which was

similar to the business conducted by Millennium

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62. Potential credit investors and Foreclosure Reversal Program participants were led
to believe that Millennium and DB Capital were the same or related entities

63. Defendant, Wachovia, employed Defendant, l\/lurrell, who similarly used his
position at that institution to recruit credit investors and/or property owners to participate in the
Foreclosure Reversal Program scheme Defendant utilized Wachovia to conduct the business of
DB Capital including calling participants to monitor rental payments, sending facsimiles and
other electronic data and setting up DB Capital bank accounts into which the illegal proceeds of
Defendants’ scam would be deposited and distributed from. Such activities involved, in large
part, business transactions that were similar to those conducted by Wachovia.

Plaintiff’s Real Estate Transactions

64. ln or about calendar year 2006, Plaintiff, Cesar Day, began having difficulty
making monthly mortgage payments on a multi-unit rental property he owned located at 1725
29th Street, S.E., Washington, D.C. (“D.C. Property”). As a result, he fell behind in such
payments and foreclosure proceedings were initiated in or about April, 2007.

65. Mr. Day attempted to refinance the loan for this property but was unable to do so
due to his poor credit.

66. In or about January, 2007, Mr. Day heard a radio advertisement on radio station
WKYS (93.9 FM) for DB Capital which was broadcast into and could be heard in the District,
Maryland and Virginia.

67. Such advertisement promised to assist individuals, having problems with
refinancing and bad credit, to save their properties

68. l\/lr. Day responded to such advertisement by calling DB Capital and speaking

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with Defendant, Brian Pettiford, who held himself out as a representative of such entity. During
such phone eall, it was agreed to set up a meeting in person at another property owned by Mr.
Day located at 3212 Auchentoroly Terrace, Baltimore, Maryland (“Baltimore Property”).

69. Defendant, Brian Pettiford, met Mr. Day at the Baltirnore Property in or about
January, 2007. At that time, Defendant, Pettiford, indicated to Mr, Day that he would be able to
assist him and save the D.C. Property from foreclosure A follow~up meeting was set up in
Defendant, Pettiford’s, office at Millennium Banl< located at 8521 Leesburg Pike, Suite 500,
Vienna, Virginia.

70. ln or about late January, 2007 or early February, 2007, Mr. Day met with
Defendant, Pettiford, at his office at Millennium Bank on Leesburg Pike in Vienna, Virginia. At
that time, Mr. Pettiford indicated that Millennium Bank and DB Capital were the same or related
entities and provided Mr. Day with a business card indicating that he was the Vice President of
the retail/wholesale lending division of Millennium Bank which contributed to the impression of
legitimacy upon which Mr. Day relied.

71. At that meeting, Defendant, Pettiford, explained that DB Capital would be able to
save the D.C. Property from foreclosure by assigning a credit investor to purchase the property
for the duration of one year during which time DB Capital would work with Mr. Day to repair his :
credit, acquire a loan at a low interest rate and repurchase his property

72. Defendant, Pettiford, represented that lenders, such as Millennium, only look back f
at an applicant’s credit for a period of one year. As such, after Mr. Day “sold” the D.C. Property

on paper and satisfied the outstanding loans/liens, his credit would repair itself after one year and

he would definitely be able to acquire a loan at a low interest rate and repurchase the property

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with loan payments he could afford As such, he would be in a better financial situation than he
had been in before and would be able to save all of his properties
73. Defendant, Brian Pettif`ord, made such representation notwithstanding the fact that
he was aware of Mr. Day’s difficulties securing a loan over the prior 6-12 months and that Mr.
Day’s credit was below 525 and extremely poor.
74. Defendant, Brian Pettiford, further indicated that, in order for the Foreclosure
Reversal Program to work, Mr. Day would have to transfer title to each of the three properties he
owned even though two of the properties were not in foreclosure or in arrears in mortgage
payments These properties were as follows:
* 1725 29“‘ Street, S.E.
Washington, D.C. (“D.C. Property”)
Multi-unit rental property

' 3212 Auchentoroly Terrace
Baltimore, MD (“Baltimore Property”)
multi-unit rental property

- 14932 Nighthawk Lane

Bowie, MD (“Bowie Property”)
primary residence

75. Defendant, Brian Pettiford, further represented that, in order to participate in the
Foreclosure Reversal Program, the Baltimore and Bowie Properties would have to be transferred
so that DB Capital could ensure that all mortgage and other payments were made in a timely
fashion and Mr. Day’s credit was not negatively impacted.

76. Defendant, Brian Pettiford, further misrepresented that the total cost of Mr. Day’s

participation in the Foreclosure Reversal Program would be approximately $l5,000 - 20,000 per

property for each of the three properties, including payments to the credit investors

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77. In light of Defendant, Brian Pettiford’s, position with Millennium Bank and
experience in the mortgage industry, Mr. Day reasonably relied upon his representation and
accepted them as true and accurate

78. Defendant, Brian Pettiford, made such representations fraudulently and
notwithstanding his knowledge at the time of his meeting with Mr. Day ( in late January or early
February, 2007), and certainly prior to the transfer of title to the properties in April and May,
2007, that l\/Ir. Day would not be able to acquire a mortgage to repurchase the properties let alone
a mortgage with an interest rate low enough to make his situation better than it had been before,
that, because Defendants would take out much larger loans for the purpose of draining the equity
from the properties, Mr. Day’s payments and financial burden would be substantially higher even
if he were to repurchase the properties, that Mr. Day’s credit would not be “repaired” in one
year’s time, that the total cost of the Foreclosure Reversal Program was for an excess of $15,000-
20,000 per property and, in fact, would drain almost all of the equity Mr. Day had in his
properties to the benefit of DB Capital, and that the Foreclosure Reversal Program was in reality
a scheme perpetrated for the sole purpose of unlawfully acquiring title to property and would
provide no legitimate service or benefit to Plaintiff.

79. At the time of their meeting in late January or early February, 2007 Defendant,
Pettiford, had Mr. Day sign various documents for all three properties including the following:

- DB Capital Lease/Purchase

~ Residential Real Estate Contract by Owner

' Authorization

' DB Capital Addendum to Contract, Heirs Assignment
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' DB Capital Group, lnc Reversal Program/Addendum to Contract to Sell Real
Estate

* DB Capital/Reversal Contract

80. These documents outlined the terms of the Foreclosure Reversal Prograrn

including the following: Mr. Day would be allowed to repurchase the properties within one year
(with a 60 day grace period); that at the end of l2 months Mr. Day would be “added back onto
the Deed[s] from sale of the propert[ies]” so that he could “repurchase the house completely back
into a sole ownership”, that the transaction was a “Reverse Mortgage”; that DB Capital would
assist Mr. Day in repairing his credit; that Mr. Day was required to go through DB Capital to
secure financing to repurchase the property; that DB Capital (not the record title owners and
mortgage holders) would pay the forthcoming mortgage payments during the time period in
which Mr. Day was in the Foreclosure Reversal Program; and authorizing Defendant, RTS, to
conduct the real estate closings for the properties and to disburse the proceeds of settlement that
would otherwise be due to Mr. Day, to DB Capital.

81. Mr. Day would also be allowed to leaseback all three properties for the following
approximate monthly rental payments to DB Capital:

' DC Property - $l600

~ Bowie Property - $l700

° Baltimore Property - $1600

82. Defendants, Brian Pettiford, Murrell and DB Capital, arranged for credit investors
to act as straw purchasers for Plaintiff" s properties

83. Defendant, Tracey Spain, signed the contract for purchase of the Baltimore

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Property.

84. Upon information and belief, Defendant, Tracey Spain, submitted documentation
to Defendant, Integrity, to secure a loan to purchase such property. Such material knowingly
contained false information regarding the nature of the transaction intended to secure a loan in
furtherance of Defendants’ common scheme

85. Upon information and belief, such information included misrepresentations that
Ms. Spain was purchasing the property for her own use and that she would be paying customary
settlement costs and a percentage of the purchase price out of pocket.

86. Defendant, Tracey Spain, was well aware at the time such representations were
made that she would not be paying anything towards the purchase of the Baltimore Property or
for settlement costs and that DB Capital was the real purchaser in interest and would have
complete control over such property Defendant, Tracey Spain, was also aware that Mr. Day had
the option and right to repurchase the Baltimore Property within one year which essentially
amounted to an equitable mortgage As such, the Baltimore Property was not being purchased in
fee simple as was represented to the lender.

87. Similarly, the Defendant, Ralph Spain, acted as the credit investor for the Bowie
Property and Defendant, Russell Pettiford, did the same for the D.C. Property (in conjunction
with Defendant, Brian Pettiford). All of these Defendants submitted similar documentation to
Defendant, lntegrity, to secure loans to purchase the properties which knowingly contained false
information regarding the nature of the transactions the true owners in fact of the properties and
the funds that would be due and payable at settlement by the borrower. All of these Defendants

knowingly made such representations with full knowledge of their false nature and with the

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express intent of securing loans to further Defendants’ common scheme

88. Upon information and belief Defendants, Tracey Spain, Ralph Spain and Russell
Pettiford, each received compensation in the amount of at least fi§ l 0,000 for their participation in
the Foreclosure Reversal Program scheme involving Mr. Day’s properties and, through such
participation, were able to secure loans which were channeled back to DB Capital and other
named Defendants to be reinvested in the Foreclosure Reversal Program scheme

89. The loans secured by those Defendants were brokered through Defendant,
Integrity.

9(). Upon information and belief Defendant, lntegrity, was well aware that the loans
involving Plaintiff, Cesar Day’s, properties were part of the DB Capital Foreclosure Reversal
Program scheme and knowingly provided or allowed to be submitted fraudulent information on
Defendants’ loan applications and other documents regarding the nature of the transaction (that it
was an arms~length transaction when it was not), the true identity of the real party in interest
purchasing the property (that the straw purchaser was a buyer in name only and that the actual
party in interest was DB Capital), that the transactions involved the sale of property for adequate
consideration (when indeed little or no consideration was actually paid to the scller), and that the
transfer involved a sale of property in fee simple when, indeed, title was actually clouded by a
sale-leaseback provision which amounted to an equitable mortgage

91. Defendant, lntegrity, knowingly misrepresented the above facts on the loan
applications for the properties owned by Cesar Day for the sole purpose of securing a mortgage
loan on behalf of Defendants, Tracey Spain, Ralph Spain, Russell Pettiford and Brian Pettiford,

and furthering the Foreclosure Reversal Program scheme

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92. Defendant, Integrity, received significant financial compensation for its
participation in the Foreclosure Reversal Program scheme involving Plaintiff, Cesar Day’s,
properties, including additional referrals from DB Capital and other named Defendants and
excessive fees which it was allowed to charge for the loans which it brokered in this case Such
fees included loan origination and discount fees in the amount of almost 3750() on the loan
brokered for the purchase of the D.C. Property as well as interest rates of over 14% on the
Baltimore Property and over IO% on the D.C. Property for borrowers that had good credit. Such
interest rates were almost double what such borrowers could get on the open market and allowed
Defendant, lntegrity, to recover huge fees in the forms of yield spread premiums from the lenders
of such funds Such fees amounted to additional thousands of dollars per transaction for each of
the three properties owned by Mr. Day.

93. Defendant, Integrity’s, actions in furtherance of Defendants’ fraudulent scheme
also resulted in the securing of loan proceeds from lenders for purchase of Mr. Day’s properties
which in turn was channeled back to Defendants, DB Capital, Brian Pettiford and Murrell, and
reinvested in the Foreclosure Reversal Program scheme

94. As a result of the fraudulent and purposeful misrepresentations made by
Defendants, Plaintiff, Cesar Day, was induced into transferring title to his three properties Such
transactions occurred at the offices of Defendant, RTS, located at 2095 Chain Bridge Road,
Vienna, Virginia on or about April 27, 2007, May 16, 2007 and May 18, 2007.

95. On or about April 27, 2007 and May 16, 2007 Defendant, RTS, conducted what
were purported to be real estate settlements/closings for the Bowie and Baltimore Properties

respectively

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96. Unlike traditional settlements, the “purchasers” (Tracey Spain and Ralph Spain)
were not present

97. The settlement/closing for the D.C. Property was also conducted by Defendant,
RTS, at their Vienna, Virginia address on or about May 18, 2007.

98. Similarly, at closing none of the “purchasers” (Brian Pettiford and Russell
Pettiford) were present

99. Notwithstanding this Defendant, RTS, fraudulently generated documentation at
each settlement indicating that both the seller and purchasers were present

100. The purported sale price listed on the HUD~l Settlement Statement and Deed
arising out of the D.C. Propcrty transaction was $370,000. At the time of settlement, Mr. Day
owed liens of approximately $216,311 resulting in equity due and payable to him from the
proceeds of settlement in the approximate amount of $150,000 (after subtraction of reasonable
and customary settlement costs).

101. Mr. Day received only $15,000 from the proceeds of that settlement

102. The purported sale price for the Baltimore Property, as stated on the Deed
prepared at closing, was $280,000. At the time of settlement, Mr. Day owed liens of
approximately 3190,000 resulting in equity due and payable to him from the proceeds of
settlement in the approximate amount of $85,000 (after subtraction of reasonable and customary
settlement costs).

103. Mr. Day received nothing from the proceeds of that settlement

104. The purported sale price for the Bowie Property as stated on the Deed prepared at

closing was $32(),000. At the time of settlement, Mr. Day owed liens of approximately $25(),000

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resulting in equity due and payable to him from the proceeds of settlement in the approximate

~ amount of $65,()00 (after the subtraction of reasonable and customary settlement costs).

105v Mr. Day received nothing from the proceeds of this settlement
106. In furtherance of Defendants’ common scheme, Defendant, RTS, also generated
closing documents for each of Plainti,t`f’s three properties with false information including

federally mandated HUD-l Settlement Statement and Deeds. Such documents identified the

l credit investors as the purchasers of the properties involved when, in fact, RTS was well aware

f that the real purchaser in interest was DB Capital and its agents

107. Sirnilarly, each of the HUD-l ’s prepared by RTS for the Plaintiff’s properties

g indicated that the buyers paid various settlement costs and brought a specified amount of out of

pocket money to closing to purchase the properties when, in fact, no such monies were brought to
settlement or paid to Mr. Day.

108. Specifically, the HUD-l Settlement Statement prepared on May 18, 2007 by RTS

~ for the D.C. Property indicated that Defendant, Russell Pettiford, was one of the purchasers

: when, in fact, RTS was well aware that the real purchaser in fact was DB Capital.

109. That HUD-l also indicated that the buyers Defendants, Brian Pettiford and

ii Russell Pettiford, were to bring $30,342.49 to settlement, of which $18,213 was to go to the

seller, Mr. Day, towards the purchase price of the property. The HUD-l also indicated that Mr.

Day was to receive 3131,295.02 as “cash to seller”.

l 10. RTS was aware that this information was false and that the buyer brought no

~ money to settlement nor did Mr. Day receive 3131,295.02 as the proceeds of the settlementl

Indeed, RTS was, or through the exercise of reasonable diligence should have been, aware that

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little or no consideration was paid to Mr. Day.

l l 1. Upon information and belief, RTS, wired such funds after the closing to a bank

' account they knew to be owned by Defendant, DB Capital Group.

112. RTS also caused a Deed to be generated and filed (dated May 17, 2007) With the
District of Columbia Recorder of Deeds which falsely indicating that Mri Day was paid
“‘consideration of the sum of $370,000" and that the property was conveyed in fee simple when
it knew full well that such property Was part of the Foreclosure Reversal Program scheme and
that Mr. Day retained an equitable and legal right in the ownership of such property.

113. Such Deed was filed or returned back to RTS by interstate mail.

114. RTS’s actions in knowingly making false statements on settlement documents and
causing Deeds containing false information to be filed, were in violation of numerous federal

laws including 18 U.S.C. § 1001 and 1010 and RESPA.

115. Upon information and belief, such actions were also in clear violation of the

` lender’s instruction which required RTS to ensure that all funds due from the buyer/borrower

were brought to settlement, went through RTS’s escrow accounts or were otherwise verified

116. Similarly, at the settlements/closings conducted for the Bowie and Baltimore

Properties, RTS also generated HUD-l Settlement Statements and caused Deeds to be filed with

information they knew, or should have known, to be false.

117. During the Bowie Property closing on or about April 27, 2007, a HUD-l

Settlement Statement was generated indicating that the Defendant, Tracey Spain, was the

l purchaser, that she was to bring approximately $7,000 to closing and that Mr. Day was to receive

approximately $50,000 from the proceeds of the settlement

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118. RTS knew that all of this information was false, that Ms. Spain brought nothing to
settlement and that all of the proceeds of the settlement were transferred through interstate wire y
to a bank account they knew to be owned by DB Capital.

119. RTS was also well aware that the Deed which they generated, or caused to be

generated (dated April 27, 2007), contained similar false information regarding the purchaser of

y the property and the consideration paid.

120. Such Deed was filed in P.G. County Circuit Court, or received back from that
Court, on or about May 18, 2007 by interstate mail.
121. During the Baltimore Property closing on or about May 16, 2007, a HUD-l

Settlement Statement was generated indicating that Defendant, Ralph Spain, was the purchaser,

' that he was to bring approximately 312,000 to closing and that Mr. Day was to receive

approximately $70,000 from the proceeds of the settlement

122. Once again, RTS knew that all of this information was false, that Mr. Spain
brought nothing to settlement and that all of the settlement proceeds were transferred through
interstate wire to a bank account they knew to be owned by DB Capital.

123. RTS was also well aware that the Deed which they generated, or caused to be
generated (dated May 16, 2007), contained similar false information regarding the purchaser of
the property and the consideration paid.

124. Such Deed was filed in Baltimore land records, or received back from that entity,
on or about October l, 2007 by interstate mail.

125. Subsequent to the closings on Mr. Day’s properties Defendant, Murrell, working

as an agent of Defendant, Wachovia, set up direct debits from Mr. Day’s personal account into

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the DB Capital account at the same institution into which rental payments for the D.C., Baltimore
and Bowie Properties were to be deposited

126. Defendant, Murrell, also contacted Mr. Day by telephone on numerous occasions
to inquire into the status of rental payments that were due or determine why sufficient funds Were
not available for direct debit.

127. Upon information and belief Defendant, Murrell, also notarized the signature of
l\/Ir. Day on numerous documents utilized to accomplish the Foreclosure Reversal Program
scheme for Mr. Day’s three properties including the DB Capital Group Lease/Purchase,
Residential Real Estate Contract by Owner, Authorization, DB Capital Group, Inc Reversal

Program/Addendum to Contract to Sell Real Estate, DB Capital/Reversal Contract, Addendum to

' Contract, DB Capital Group, Inc. Good Faith Estimate Fee Break Down/Reversal Program, and

DB Capital Group Addendum to Contract. All such documents were signed (for each of the
three properties) outside of Mr. Murrell’s presence .

128. Mr. Murrell fraudulently notarized such documents at some later time in
furtherance of Defendants’ common scheme.

129. ln the twelve (12) months following the transfer of title to Mr. Day’s properties he
contacted Defendant, Brian Pettiford, on numerous occasions to inquire into getting financing to
repurchase the same.

130. On each such occasion Defendant, Pettiford, provided excuses as to why it was
premature to begin such process or indicated that he was actively seeking such financing

131. No such financing was ever secured and l\/Ir. Day was never given the opportunity

to repurchase his properties

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132. Mr. Day made rental payments for the three properties in the total amount of
$4900 per month for almost three years

133. ln addition, Mr. Day managed the D.C. and Baltimore Properties for
approximately the same period of time.

134. Upon information and belief Defendants, DB Capital, Brian Pettiford and Murrell,
failed to make required mortgage payments on the properties allowing the D.C. and Baltimore
Properties to go into foreclosure

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135. ln connection with the activities giving rise to this action Defendants, DB Capital,
Brian Pettiford, David Murrell, Integrity, RTS, Ralph Spain, Tracey Spain and Russell Pettiford
(hereafter referred to as the “RICO Defendants”) acted with malice, intent and knowledge, and
with a wanton disregard for the rights of Plaintiff, Cesar Day.

136. At all relevant times herein, the “enterprise” described herein operated separately
and distinct from each individual RICO Defendant. The enterprise consisted of an association in
fact of the RICO Defendants to implement and conduct the “Foreclosure Reversal Program”,
which had been operated over the course of at least a two-year period through the use of mail,
wire, and tax fraud, and the collection of unlawful debts, and involving what is likely dozens of
victims and properties including three properties owned by Plaintiff.

137. The enterprise was engaged in interstate commerce in that, inter alia, the
mortgage loans and real properties which are subject to the scheme to defraud set forth in this
Cornplaint, were secured in Maryland and the District of Columbia and were funded and serviced F

out-of-state by various lenders around the United States. _S_e_e RICO, §1961(4) and §l962(a).

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138. On information and belief, the initial capital contributions invested by each RICO
Defendant in forming the enterprise, the Foreclosure Reversal Program, was illicit income
derived from a previous pattern of racketeering activity and the collection of unlawful debts
through an informal association and prior business dealings between the RlCO Defendants.

139. At all relevant times herein, in connection with the activities giving rise to this
action, the RICO Defendants conspired with each other to engage in the various activities set

forth herein, agreed to participate in the operation of the conspiracy and scheme to defraud

Plaintiff and other property owners, and aided and abetted one another in these activities, all as

7 proscribed by federal law.

140. As set forth herein, during the relevant times, and in furtherance of and for the
purpose of executing the scheme and artifice to defraud, the RICO Defendants on numerous

occasions used and caused to be used, mail depositories of the United States Postal Service by

g both placing and causing to be placed mailable matters in said depositories and by removing and
causing to be removed mailable matters from said depositories including, but not limited to

ry HUD-l Settlement Statements, correspondence, other closing documents, Deeds, and original

~ copies of owner’s title insurance policies that fraudulently misrepresented and concealed the true

~ nature of the relationship between the conspirators and concealed the true nature of services

provided by the Foreclosure Reversal Program.

141. Specitically, RTS mailed disbursements from each of the Plaintiffs transactions
to entities which attempted to present the Foreclosure Reversal Program as a bona fide and legal
real estate transaction The efforts by RTS were successful in deceptively hiding the fact that the

Foreclosure Reversal Program was not a bona fide and legal real estate transaction The mailings

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of these disbursements was successful in deceptively hiding the fact that the Foreclosure
Reversal Program was a sham and not operating according to the law and was merely created to
launder money back into the hands of the Defendants and their affiliates

142. Further, the activities of the RICO Defendants were designed to evade the
payment of taxes for the equity wrongfully obtained by Defendants, DB Capital, Brian Pettiford,
and Murrell, in violation of 18 U.S.C. §1956.

l43. The RICO Defendants have engaged in a pattern of racketeering by repeatedly
engaging in activities designed to evade the payment of taxes on the equity wrongfully obtained
by them from Plaintiff and other victims like him.

144. As described above, RTS, used the United States mail to send and/or receive
documents containing fraudulent information, the purpose of which was to further the
Foreclosure Reversal Program scheme Such documents included Deeds from each of the
Plaintiff`s transactions as well as other settlement/closing documents Each such use of the
United States mails in connection with the scheme and artifice to defraud constituted the offense
of mail fraud as proscribed and prohibited by 18 U.S.C. §1341.

145. As set forth herein, during the relevant times, and in furtherance of and for the
purpose of executing the scheme and artifice to defraud, the Defendants on numerous occasions
also used and caused to be used, telephone, and other wire transactions including, but not limited
to, interstate telephone conversations between Defendants, Brian Pettiford, Murrell, and Plaintiff, 5
and the receipt and dissemination of funds through bank wire transfers in each and every
transaction with the intent and in furtherance of the scheme to defraud Each such use of the

telephone and wire transmission in connection with the scheme and artifice to defraud

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y constituted the offense of wire fraud as proscribed and prohibited by l8 U.S.C. §1343.

l46. The RICO Defendants’ enterprise which operated for at least 2 years and targeted

dozens of properties in Maryland, the District of Columbia and Virginia (including three

properties owned by Plaintiff) involving vulnerable homeowners who were in trouble financially
but equity rich and used form documents that intentionally contained false information that was
sent through the US mail and interstate wire, constituting a pattern of racketeering activity.

147. Each of the conspirators used proceeds derived from a pattern of racketeering

activity under 18 U.S.C. §1961(1) & (5) and proceeds derived from the collection of unlawful
: debts to acquire an interest in, establish, or operate the enterprise consisting of an association in

, fact to implement the Foreclosure Reversal Program.

148. The RICO Defendants associated together for a common purpose of engaging in

' a course of conduct.

149. The Defendants’ enterprise involved in this scheme had an ongoing organization
with a decision-making framework and/or a mechanism for controlling the group enterprise

15(). As described herein, the RICO Defendants engaged in ongoing, coordinated
behavior in the Foreclosure Reversal Program victimizing Plaintiff and other similarly situated

individuals Each of these Defendants Was aware of each other’s existence as part of the scheme

§ to defraud

151. The association of these Defendants into an enterprise served as the vehicle
through which the unlawful acts described herein were conducted Without the association of
these persons, the unlawful acts described herein Would not have been possible

152. As described above, these enterprises had organizational structures or chains of

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command, including phases for soliciting and recruiting victim homeowners, preparing contracts
including sales contracts and leases, preparing loan documents, brokering loans, closing real
estate transactions, filing Deeds containing false information, and creating the appearance ofa
credit repair and foreclosure rescue business

153. These enterprises used organized efforts to fraudulently and illegally lure Plaintiff
and others to engage their services, to systematically deceive Plaintiff and other victims, to close
fraudulent and illegal real estate transactions involving the Plaintiff and other victims and to
benefit themselves at the expense of the Plaintiff and other victims

154. The RICO Defendants engaged in the enterprises described above and functioned
as continuing units identifiable over a period of time The RICO Defendants were involved in
the transactions involving Plaintiff and other victims over a period spanning at least two years
and involving likely dozens of transactions, three of which involved Plaintiffs properties

155. On information and belief, the enterprises described above did not exist solely for
the purpose of engaging in predicate acts violative of RICO, but the enterprises also engaged in
legitimate real estate transactions over the same period of time for the purpose of further
concealing the true intent of their enterprise

156. The RICO Defendants each engaged in a pattern of racketeering activity, as
defined under RICO, §1961(5), as each engaged in a pattern of mail and wire fraud as well as
money laundering to evade taxes.

15 7. Each of the transactions concerned herein also involved the collection of
“unlawful debts,” as defined by RICO, §1961(6). These transactions were unenforceable under

applicable State law, in whole or in part as to principal or interest because of the laws relating to

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y usury, and these debts were incurred in connection with the business of lending money and/or

things of value at a rate usurious under applicable State law.

158. The enforceable rate of each of these loans to Plaintiff was no more than 6% per

annum, and each of the three transactions involving the Plaintiff involved equitable mortgages
which carried an annual percentage rate far in excess of that amount
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Violation of the Federal Racketeer Inf]uenced and Corrupt ()rganizations Act (“RICO”)
18 U.S.C. §1962(a)
(RICO Defendants)

Plaintiff hereby adopts and incorporates by reference all of the facts and allegations set
forth in paragraphs l through 158 above, and further alleges that:

159. Plaintiff is a “person” within the meaning of 18 U.S.C. §§1961(3) and 1964(0).

16(). Each RICO Defendant is a “person” within the meaning of 18 U.S.C. §§1961(3)

and is U.s.c. §§1962(3).

161. Through the agreements between the RICO Defendants and through the

arrangements and joint activity between the RICO Defendants, the R.ICO Defendants formed an
f association in fact With each other which constitutes an “enterprise” engaged in illegal activities

affecting interstate commerce pursuant to 18 U.S.C. §§1961(4) and 1962(a).

162. Each of the RICO Defendants used proceeds derived from a pattern of

: racketeering activity under 18 U.S.C. §§1961(1) and (5) or from the collection of unlawful debts,

to acquire an interest in, establish, or operate the enterprise
163. These unlawful activities included multiple instances of mail and wire fraud

including, but not limited to, the filing of Deeds containing false information and the wiring of

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illegal proceeds of the Foreclosure Reversal scheme in violation of 18 U.S.C. §§1341 and 1343.

164. The unlawful activities also included the collection of unlawful debts as defined
by RICO.

165. T he RIC() Defendants’ association in fact had a common or shared purpose to
give effect to the scheme described above, and had a distinct division of labor as described
above lt continued as a unit, with a core membership, over a substantial period of time of at
least two years, and was an ongoing organization established for an economic motive

166. The RICO Defendants each played a substantial and distinct role in this scheme

167. The RICO Defendants each knew that the Foreclosure Reversal Program was an
illegal means of stripping equity from the homes of the property owners they engaged including
Plaintiff, Cesar Day.

168. All of these activities of the association in fact form a pattern, continuous in
nature, which consists of numerous unlawful individual acts directed to the Plaintiff and other
victims The illegal activities of the RICO Defendants persisted over an extended period of time
starting in or about November, 2006 with the incorporation of DB Capital Group and extending,
upon information and belief, at least two years. Each of the false and fraudulent representations
made by the RICO Defendants, and contained in the documents provided to Plaintiff and other
victims, were made in furtherance of the conspiracy for which the RICO Defendants are liable
The reliance of Plaintiff on the material falsehoods and omissions made in this regard were
reasonable and justified because such representations would and did cause persons of ordinary
experience to be convinced of the legality and legitimacy of the Foreclosure Reversal Program.

169. These activities of the RlCO Defendants entailed multiple instances of mail fraud

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z consisting of intentional mail fraud intended to induce, and inducing, the Plaintiff and others to

' part with property and to surrender legal rights in violation of 18 U.S.C. §§1341.

170. These activities of the RICO Defendants also entailed multiple instances of Wire
fraud consisting of intentional wire fraud intended to induce, and inducing, Plaintiff and others to
part with property and to surrender legal rights in violation of 18 U.S.C. §§1343.

l7l. These activities of the RICO Defendants also entailed multiple instances of the

l collection of unlawful debts consisting of the intentional collection of unlawful debts intended to
` induce, and inducing, Plaintiff and others to part with property and to surrender legal rights in

5 violation or Rico.

172. These activities of the RICO Defendants also entailed multiple instances of money g
laundering designed to evade taxes in violation of 18 U.S.C. §§1956.
173. Through the use of this illegal and fraudulent scheme, and through the efforts to

operate and maintain the enterprise described herein, to maintain the conspiracy and to facilitate

, the payment of illegal fees and kickbacks to the RIC() Defendants by laundering funds through
l the use of the Foreclosure Reversal Program, the RICO Defendants have been able to retain

' money which is righthilly payable to the Plaintiff, to collect money not properly due from the

Plaintiff and evade taxes
174. The RICO Defendants retained these illegally gained funds and reinvested and
used these funds in their operations in violation of 18 U.S.C. §§1962(a).

175. Plaintiff and others have been injured in their property by reason of the operation

f of the association in fact enterprise in this unlawful manner and investment of illicit proceeds

from previous racketeering activities in the association in fact enterprise

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176. As a direct and proximate result of Defendants’ violation of 18 U.S.C. §l%?.(a),
Plaintiff, Cesar Day, suffered, and will continue to suffer, significant and extensive damages

including, but not limited to, the loss of title to his properties, the loss of equity in his properties,

' the loss of rental income from his properties and ultimately the loss ofhis right to reside in and

control his properties
177. As a further direct and proximate result ofDefendants’ violation of 18 U.S.C.

§1962(a), Plaintiff, Cesar Day, suffered, and will continue to suffer, severe emotional pain and

f suffering and distress

WHEREFORE, Plaintiff demands judgement against the RICO Defendants, jointly and

l severally, as follows:

a. Compensatory damages in the amount of ONE MILLION DOLLARS
($ l ,OO0,000.00);

b. Punitive/exernplary damages in the amount of ONE MILLION DOLLARS
($ l ,OOO,()O0.00);

c. Judgment declaring the Deed to the Bowie Property dated April 27, 2007,
transferring title from Cesar Day to Ralph Spain, null and void.

d. Judgment declaring the Deed to the Baltimore Property dated May 16, 2007,
transferring title from Cesar Day to Tracey Spain null and void.

e. Judgement declaring the Deed to the D.C. Property dated May 18, 2007,
transferring title from Cesar Day to Brian Pettiford and Russell Pettiford null and
void.

f. Attorney’s fees and costs of litigation, interest and any other Such further relief as

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the Court deems appropriate

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Violation of the F ederal Racketeer Inf]uenced and Corrupt Organizations Act (“RIC()”)
18 U.S.C. §1962(c)
(RICO Defendants)

Plainti ff hereby adopts and incorporates by reference all of the facts and allegations set
` forth in paragraphs l through 177 above, and further alleges that:
178. Plaintiff is a “person” within the meaning of 18 U.S.C. §§1961(3) and 1964(c).
179. The RICO Defendants are “persons” within the meaning of 18 U.S.C. §§ 1961(3)
and 1962(0).
180. The association in fact described above was an “enterprise” within the meaning of
18 U.S.C. §§1961(4) and 1962(0), which enterprise was engaged in, and the activities of which

affect, interstate commerce
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181. 'fhe RICO Defendants were each associated with the enterprise and participated in

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ry its management and operation by directing its affairs and by conducting business with each other

 

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and assisting in the scheme to charge Plaintiff and other victims, illegal and fraudulent fees in
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ALE><A~DR»A. vA mo 11 connection with the Foreclosure Reversal Program. The RICO Defendants each participated,

 

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FA’“ 103"82°”0630 directly and indirectly, in the conduct of the enterprise’s affairs through a pattern of unlawful

j;;;::;jj;:;j;€ activity under is U.s.C. §§1961 (i)(b), 1961(5) and i%z(c), to win

 

 

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cANDOVER, us was ' c. Multiple instances of money laundering to evade taxes in violation of 18 U.S.C.
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d. Multiple instances of the collection of unlawful debts in violation of RICO.

182. Plaintiff suffered injury to his properties within the meaning of 18 U.S.C.
§§1964(c), by reason of the violation of 18 U.S.C. §§1962(c).

183. As a direct and proximate result of Defendants’ violation of 18 U.S.C. §1962(c),
Plaintiff, Cesar Day, suffered, and will continue to suffer, significant and extensive damages
including, but not limited to, the loss of title to his properties the loss of equity in his properties
the loss of rental income from his properties and ultimately the loss of his right to reside in and
control his properties

184. As a further direct and proximate result of Defendants’ violation of 18 U.S.C.
§1962(0), Plaintiff, Cesar Day, suffered, and will continue to suffer, severe emotional pain and
suffering and distress

WHEREFORE, Plaintiff demands judgement against RICO Defendants, jointly and
severally, as follows:

a. Compensatory damages in the amount of ONE MILLION DOLLARS

($1,000,000.00);
b. Punitive/exemplary damages in the amount of ONE MILLION DOLLARS
($1,000,000.00);

c. Judgment declaring the Deed to the Bowie Property dated April 27, 2007,

transferring title from Cesar Day to Ralph Spain, null and void.

d. ludgrnent declaring the Deed to the Baltimore Property dated May 16, 2007,

transferring title from Cesar Day to Tracey Spain null and void.

e. ludgement declaring the Deed to the D.C. Property dated May 18, 2007,

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transferring title from Cesar Day to Brian Pettiford and Russell Pettiford null and
void.
f. Attorney’s fees and costs of litigation, interest and any other such further relief as

the Court deems appropriate

COUNT IlI
Violation of the Federal Racketeer Iniluenced and Corrupt Organizations Act (“RICO”)
18 U.S.C. §1962(d)
(RIC() Defendants)
Plaintiff hereby adopts and incorporates by reference all of the facts and allegations set
forth in paragraphs l through 184 above, and further alleges that:
185. Plaintiff is a “person” within the meaning of 18 U.S.C. §§1961(3) and 1964(c).
186. The RICO Defendants are “persons” within the meaning of 18 U.S.C. §§1961(3)
and 1962(d).

187. The association in fact described above was an “enterprise” within the meaning of '

18 U.S.C. §§ 1961(4) and 1962(a), which enterprise was engaged in, and the activities of which

affect, interstate commerce

188. The RIC() Defendants as co-conspirators were associated with the enterprise

described herein, and conspired within the meaning of 18 U.S.C. §§1962(d) to violate §§l962(a)

and (c).

189. The Defendants as co-conspirators conspired to use or invest income derived from

l a pattern of unlawful activity and the collection of unlawful debts under 18 U.S.C. §§1961 to

acquire an interest in, establish or operate the enterprise and have done so through a pattern of

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unlawful activity including multiple instances of mail fraud, wire fraud, money laundering to

evade taxes and the collection of unlawful debts.

19(). The Defendants as co-conspirators conspired to operate, maintain control of, and

maintain an interest in the enterprise and have done So through a pattern of unlawful activity

including multiple instances of mail fraud, wire fraud, money laundering to evade taxes and the

collection of unlawiiil debts.

191. As a direct and proximate result of Defendants’ violation of 18 U.S.C. §1962(01),

Plaintiff, Cesar Day, suffered, and will continue to suffer, significant and extensive damages

including, but not limited to, the loss of title to his properties, the loss of equity in his properties,

ii the loss of rental income from his properties and ultimately the loss of his right to reside in and

control his properties

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192. As a further direct and proximate result of Defendants’ violation of 18 U.S.C.

§1962(d), Plaintiff, Cesar Day, suffered, and will continue to suffer, severe emotional pain and

suffering and distress.

WHEREFORE, Plaintiff demands judgement against RICO Defendants, jointly and

severally, as follows:

a. Compensatory damages in the amount of ONE MILLION DOLLARS
($1,000,000.00);

b. Punitive/exemplary damages in the amount of ONE MILLION DOLLARS
($1,000,000.00);

c. Judgment declaring the Deed to the Bowie Propelty dated April 27, 2007,

transferring title from Cesar Day to Ralph Spain, null and void.

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d. Judgment declaring the Deed to the Baltimore Property dated May 16, 2007,
transferring title from Cesar Day to Tracey Spain null and void.

e. Judgement declaring the Deed to the D.C. Property dated May 18, 2007,
transferring title from Cesar Day to Brian Pettiford and Russell Pettiford null and
void.

f. Attorney’s fees and costs of litigation, interest and any other such further relief as
the Court deems appropriate

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F rand - Conspiracy to Commit Fraud
(Defendants, DB Capital, Integrity, RTS, Brian Pettiford, David Murrell, Russell Pettiford,
Tracy Spain, and Ralph Spain, Sr.)

Plaintiff hereby adopts and incorporates by reference all of the facts and allegations set

forth in paragraphs 1 through 192 above, and further alleges that:

193. Defendants knowingly made false representations to the Plaintiff and engaged in a

purposeiiil conspiracy, the goal of which was to induce Plaintiff to enter into agreements that
would result in the transfer of the title to his properties and the realization of substantial financial
gain by all Defendants in the form of the significant equity in the Plaintift`s properties as well as
exorbitant, non-customary, fraudulent and illegal fees including, but not limited to, mortgage
broker fees, credit investor fees, and fees paid to DB Capital for participation in the Foreclosure

Reversal Program scheme

194. Among the false representations made and conspiratorial actions taken to bolster

such representations and further the fraudulent scheme were the following:

a. that the DB Capital Foreclosure Reversal Program would be able to assist Plaintiff

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and save his property from foreclosure;

that Plaintiff would be transferring his properties for approximately a one year
period of time;

that during such period of time, DB Capital would work with Plaintiff to repair his
credit, acquire a loan at a low interest rate and repurchase his property;

that lenders such as Millennium Bank only look back at an applicant’s credit for a
period of one year. As such, after Plaintiff sold his properties and satisfied his
outstanding loans/liens, his credit would repair itself and he would definitely be
able to acquire a loan at a low interest rate and repurchase the property after one
year;

that after one year Plaintiff would be able to acquire a loan to repurchase the
property at an interest rate and cost that would put him in a better financial
position than he had been in before;

that in order for the Foreclosure Reversal Program to work, Plaintiff would have
to transfer title to each of his three properties even though two of the properties
were not in foreclosure or in arrears on mortgage payments;

that the total cost of the Foreclosure Reversal Program would be $15,000~20,000
per property for each of the three properties

that DB Capital and Millennium Bank were the same or related entities
Generating a HUD~l Settlement Statement and other closing documents which
knowingly contained factual misrepresentations that Defendants knew and

understood were necessary in order to further their common fraudulent scheme,

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195.

 

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falsely acquiring financing and fraudulently transferring title to Plaintiff‘s
properties

Defendants knew that the factual representations and inducements made to

Plaintiff, and incorporated throughout the closing documents, were false and/or were made with

reckless indifference to their truth.

196.

Defendants made the factual misrepresentations and inducements to Plaintiff with

t the express purpose of furthering their common conspiracy and reaping significant ill~gotten

 

197.

financial gain from the transactions that followed including, but not limited to, the transfer of

title to Plaintiffs properties as well as the significant equity in such properties

ln light of the difficult financial situation Mr. Day found himself in at the time he

contacted Defendants and his lack of knowledge and sophistication in regards to mortgages,

complex real estate transactions, foreclosure and related matters, Plaintiff had the right to

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WASH1NGTON, D.C. 20035

 

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ALEXANDR|A, VA 22311

 

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position.

198.

reasonably rely upon the representations, inducements and actions of Defendants and, in fact, did
so to his detriment Such reliance is even more reasonable in light of Defendant, Brian

Pettiford’s, position with Millennium Bank and the credibility asserted as a result of such

As a direct and proximate result of the fraudulent misrepresentations, inducements

and actions by Defendants, Plaintiff, Cesar Day, suffered, and will continue to suffer, significant

and extensive damages including, but not limited to, the loss of title to his properties, the loss of

equity in his properties, the loss of rental income from his properties and ultimately the loss of

his right to reside in and control his properties

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As a further direct and proximate result of Defendants’ fraudulent

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i misrepresentations, inducements and actions by Defendants, Plaintiff, Cesar Day, suffered, and

will continue to suffer, sever emotional pain and suffering and distress

WHEREFORE, Plaintiff demands judgement against Defendants, DB Capital, lntegrity,

RTS, Brian Pettiford, David l\/Iurrell, Russell Pettiford, Tracy Spain, and Ralph Spain, jointly and f

severally, as follows:

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WASHINGTON, D,C. 20036

 

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FAX: 202~416»6392

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4900 SEM|NAF?Y ROAD
ALEXANDR!A, VA 22311

 

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Compensatory damages in the amount of GNE MILLI()N DOLLARS
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Punitive/exemplary damages in the amount of ()NE MILLION DOLLARS
($1,000,000.()());
Judgment declaring the Deed to the Bowie Property dated April 27, 2007,
transferring title from Cesar Day to Ralph Spain, null and void.
Judgment declaring the Deed to the Baltimore Property dated May 16, 2007,
transferring title from Cesar Day to Tracey Spain null and void.
Judgement declaring the Deed to the D.C. Property dated May 18, 2007,
transferring title from Cesar Day to Brian Pettiford and Russell Pettiford null and
void.
Attorney’s fees and costs of litigation, interest and any other such further relief as
the Court deems appropriate

C()UNT V

Unjust Enrichment

(Defendants, Brian Pettiford, David Murrell, DB Capital, Tracey Spain, Ralph Spain, Sr.,

Russell Pettiford, RTS, and Integrity)

Plaintiff hereby adopts and incorporates by reference all of the facts and allegations set

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w Murrell, DB Capital, Tracey Spain, Ralph Spain, Russell Pettiford, RTS, and lntegrity, jointly

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2000 L_ STREET, N.W.
WASH¥NGTON, D.C. 29036

 

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forth in paragraphs l through 199 above, and further alleges that:

ZOO. Defendants enjoy a benefit conferred upon them by Cesar Day in the form of real

property, record title and/or money belonging to and/or provided by Cesar Day, but

misappropriated by the Defendants.

201. Defendants understood and knew that they Were being unjustly enriched at the

expense of Cesar Day When they caused title to be transferred to themselves_, Without any

adequate compensation or consideration

202. Under the facts as described above, Defendants have knowingly been unjustly

enriched by virtue of their fraudulent and illegal actions.

203. As a direct and proximate result of Defendants’ actions, Plaintiff has suffered the

injuries described in Counts l - lV above.

WHEREFORE, Plaintiff demands judgement against Defendants, Brian Pettiford, David

and severally, as follows: '

a. Compensatory damages in the amount of ONE MILLION DOLLARS
(31,000,000.00);

b. Punitive/exemplary damages in the amount of ONE MILLION DOLLARS
($1,000,000.00);

c. Judgment declaring the Deed to the Bowie Property dated April 27, 2007,
transferring title from Cesar Day to Ralph Spain, null and void.

d. Judgrnent declaring the Deed to the Baltimore Property dated May 16, 2007,

transferring title from Cesar Day to Tracey Spain null and void.

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e. Judgement declaring the Deed to the D.C. Property dated May 18, 2007,
transferring title from Cesar Day to Brian Pettiford and Russell Pettiford null and
void.

f. Attorney’s fees and costs of litigation, interest and any other such further relief as

the Court deems appropriate
COUNT VI
Negligence
(Defendants, Millennium Bank, NA, Millennium Bankshares Corporation, RTS, Wells
Fargo, Wachovia, and Integrity)
Plaintiff hereby adopts and incorporates by reference all of the facts and allegations set
forth in paragraphs l through 203 above, and further alleges that:

204. Defendant, lntegrity, was the entity that brokered the loans utilized by Defendants,

rif Brian Pettiford, Russell Pettiford, Tracey Spain and Ralph Spain, to purchase Plaintifi`s

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properties

 

205. Defendant, Millennium, is responsible for all of the acts and/or omissions of its

staff, employees, agents, servants and/or assigns pursuant to the doctrine of respondeat superior,
including Defendant, Brian Pettiford y
206. Defendant, Millennium, was the employer of Defendant, Brian Pettiford, who
served as Millennium Bank’s Vice President of retail/wholesale lending Millennium Bank
negligently allowed Brian Pettiford to use his position at that institution to recruit credit
investors/straw purchasers and property owners to the Foreclosure Reversal Program.

Furthermore, Millennium Bank allowed Brian Pettiford to utilize the offices and equipment of

Millennium Bank to meet with credit investors and property owners, sign necessary paperwork

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and agreements, run credit checks and otherwise conduct the business ofDB Capital, which was
similar to the business conducted by Millennium

207. At all times relevant hereto Defendant, Brian Pettiford, was acting within the
scope of his employment with Millennium.

208. Defendant, Wells Fargo, is responsible for all of the acts and/or omissions of its
staff, employees, agents, servants and/or assigns pursuant to the doctrine of respondeat superior,
including Defendant, David Murrell.

209. Defendant, Wachovia, employed Defendant David Murrell, who used his position
at that institution to recruit credit investors and/or property owners to participate in the
Foreclosure Reversal Program. Murrell utilized Wachovia to conduct the business of DB Capital
including calling participants, such as Plaintiff, to monitor rental payments, sending facsimiles
and other electronic data and setting up DB Capital bank accounts into which the illegal proceeds
of Defendants’ scam would be deposited and distributed from. Such activities involved, in large
part, business transactions that were similar to those conducted by Wachovia.

210. At all times relevant hereto Defendant, David Murrell, was acting within the
scope of his employment with Wachovia.

211. Defendants, RTS and Integrity, were each privy to, prepared and reviewed, 1
documents pertaining to the loans and settlements/closings for Plaintiff’ s properties including,
but not limited to, the HUD~l Settlement Statements, Deeds and loan applications Such
documents identified the credit investors/straw purchasers as the purchasers of the properties
involved when, in fact, RTS and lntegrity knew, or through the exercise of reasonable diligence,

should have known, that the real purchasers in interest were DB Capital and its agents

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212. RTS and lntegrity also knew, or should have known, that the transactions
involved little or no consideration, and that the transfers purported to involve the sale of
properties in fee simple when indeed title was actually clouded by sale-leaseback provisions
which amounted to equitable mortgages

213. ln light of this information all Defendants knevv, or should have known, that this
was not an arms~length transaction and that malfeasance and/or violation of law was likely
involved

214. Such knowledge should have, at a minimum, prompted an inquiry or investigation
into the activities being conducted by all Defendants, as well as the actual terms of the
transactions, and precluded the settlements/closings from going forward

215. Defendants, RTS and lntegrity also knew, or should have known, that the Plaintiff
would receive little or no consideration for the sale of his properties and that the buyers of such
properties (and borrowers on the loans) would be bringing no funds whatsoever to closing ln
this regard Defendants, RTS and lntegrity, should have realized that the loan applications,
settlement documents, Deeds and other documents used to secure loans and conduct the closings
contained fraudulent information

216. Defendants owed Cesar Day a duty to: (i) exercise due diligence to ensure that the
transactions being conducted by their servants, agents and/or employees were not illegal, in
violation of applicable statutes, or industry standards, or otherwise irregular; (ii) oversee and
supervise the transactions at issue to ensure that their agents, servants and/or employees were
conducting such transactions in accordance with the requirements of applicable law; (iii) put in

place quality assurance procedures to ensure that their agents, servants and/or employees were

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not engaging in any fraudulent, deceitful or dishonest behavior; (iv) take reasonable steps to
ensure that all information contained on the HUD~l Settlement Statement, and other closing
documents, was accurate, honest and forthright; (v) take reasonable steps to ensure that all
information contained on other documents involved in the transactions at issue including, but not
limited to, loan applications and documents, were accurate, honest and t`orthright; (vi) ensure that
all lender’s instructions regarding documentation prior to, during and after the April 27, 2007,
May 16, 2007, and May 18, 2007 real estate settlement, were followed; (vii) abide by all relevant
federal and state regulations in effect at the time of the transactions at issue in this case; (viii)
refrain from conducting settlement/closings or processing loans that contained irregularities or
involved malfeasance or violation of law and; (ix) ensure that all proceeds of the sale of the
properties due to Cesar Day were properly disbursed to him.

217. Defendants breached their duty to Plaintiff, Cesar Day, by failing to: (i) exercise
due diligence to ensure that the transactions being conducted by their servants, agents and/or
employees were not illegal, in violation of applicable statutes, or industry standards, or otherwise

irregular; (ii) oversee and supervise the transactions at issue to ensure that their agents, servants

and/or employees were conducting such transactions in accordance With the requirements of

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applicable law; (iii) put in place quality assurance procedures to ensure that their agents, servants
and/or employees were not engaging in any fraudulent, deceitful or dishonest behavior; (iv) take
reasonable steps to ensure that all information contained on the HUD-l Settlement Statement,
and other closing documents, Was accurate, honest and forthright; (v) take reasonable steps to
ensure that all information contained on other documents involved in the transactions at issue

including, but not limited to, loan applications and documents, were accurate, honest and

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forthright; (vi) ensure that all lender’s instructions regarding documentation prior to, during and
after the April 27, 2007, May 16, 2007, and May 18, 2007 real estate settlement, were followed;
(vii) abide by all relevant federal and state regulations in effect at the time of the transactions at
issue in this case; (viii) refrain from conducting settlement/closings or processing loans that
‘ contained irregularities or involved malfeasance or violation of law and; (ix) ensure that all
proceeds of the sale of the properties due to Cesar Day were properly disbursed to him.

218. As a direct and proximate result of the aforementioned breaches, Cesar Day
suffered the injuries described in Counts l - V above.

WHEREFORE, Plaintiff demands judgement against Defendants, Millennium Banl<,
RTS, Wachovia, Wells Fargo, and lntegrity, jointly and severally, as follows:

a. Compensatory damages in the amount of ONE MILLION DOLLARS

($1,000,000.00);

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b. Punitive/exemplary damages in the amount of ONE MILLION DOLLARS

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c. Judgment declaring the Deed to the Bowie Property dated April 27, 2007,

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ROCKVILLE, MD 20852

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m 703‘82@'@63° d. Judgment declaring the Deed to the Baltimore Property dated May 16, 2007,
°"E CE"‘"*A“ P‘*“Z" transferring title from Cesar Day to Tracey Spain null and void.

 

e. Judgernent declaring the Deed to the D.C, Property dated May 18, 2007,

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the Coutt deems appropriate
C()UNT VII
Breach of Contract, Rescission, Unconscionability, Failure of Consideration

(Defendants, Brian Pettiford, David Murrell, DB Capital, Russell Pettiford, Tracey Spain,

and Ralph Spain, Sr.)

Plaintiff hereby adopts and incorporates by reference all of the facts and allegations set
forth in paragraphs l through 218 above, and further alleges that:
219. Plaintiff, Cesar Day, originally entered into contracts for the sale of the properties
based upon fraudulent representations of material fact.

220. Defendants breached such contracts in numerous ways including, but not limited

' to:

 

 

' failing to take any reasonable steps to secure financing to allow Plaintiff to
repurchase his properties;
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g ~ failing to allow Plaintiff to repurchase his properties within one year; and
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making it impossible for him to secure affordable financing to repurchase such
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ALE)<ANDm/x, v/x 22311 propertles.
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ms 703~@20»@@3@ 221. Plaintiff, Cesar Day, is entitled to complete rescission of the Deeds dated April

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30,_7?0_3737 ff based upon the fraudulent misrepresentations and inducements utilized to procure such Deeds.
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wm 3m §§ 222. Defendants, Brian Pettiford, David l\/lurrell, and DB Capital, were well aware that
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wastes MD ama j_j Plaintiff, Cesar Day, was unsophisticated in matters of mortgages, credit, complex real estate
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rsz 301-459~13€@ §; transactions, foreclosures and related matters, was in a difficult financial situation and was at risk
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of losing his properties to foreclosure As such, he had no meaningful choice in regards to the

terms of the contract for the sale of the properties

223. Defendants were well aware that Mr. Day was not familiar with the realities of his

poor credit score and his inability to sufficiently repair his credit in one years time.

224. Defendants knew that Mr. Day would not be able to repurchase his property

within one year at a low interest with affordable payments based on his inability to acquire a new 1

loan to finance such repurchase and the fact that Defendants had stripped all of the equity from

the property.

225. ln light of this gross inequity, the Residential Real Estate Contracts, dated
February 26, 2007, were unconscionable and unenforceable

226. Defendants, Brian Pettiford, David Murrell and DB Capital, knowingly and
unlawfully took possession of the net proceeds of the sale of Plaintiff’s properties in the amount y
of at least 3250,000.

227. ln light of this, there was failure of consideration for the transfer of the properties
rendering title to such properties in the names of Defendants, Tracey L. Spain, Ralph D. Spain,
Brian Pettiford and Russell Pettiford, null and void.

228. As a direct and proximate result of Defendants’ breach of contract, failure of
consideration, and unconscionable contract, Plaintiff has suffered the injuries described in Count
l - Vl above.

WHEREFC)IUZ, Plaintiff demands judgement against Defendants, Brian Pettiford, David
Murrell, DB Capital, Russell Pettiford, Tracey Spain and Ralph Spain, jointly and severally, as

follows:

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WMWM»,

a. Compensatory damages in the amount of ONE l\/IILLION D()LLARS

 

(31,000,000.00);

b. Punitive/exemplary damages in the amount of ONE MILLION DOLLARS
(31,000,000.00);

c. Judgment declaring the Deed to the Bowie Property dated April 27, 2007,
transferring title from Cesar Day to Ralph Spain, null and void.

d. Judgment declaring the Deed to the Baltimore Property dated May 16, 2007,
transferring title from Cesar Day to Tracey Spain null and void.

e. Judgement declaring the Deed to the D.C. Property dated May 18, 2007,
transferring title from Cesar Day to Brian Pettiford and Russell Pettiford null and
void.

f. Attorney’s fees and costs of litigation, interest and any other such further relief as
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the Court deems appropriate

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COUNT VIII

 

m 202-416*6392 Declaratory Judgement/Quiet Title Action
wm :;'AT|:::;°RGAD (Defendants, Brian Pettiford, Russell Pettiford, Tracey L. Spain, Ralph D. Spain, Sr.)

70:93,_5500 Plaintiff hereby adopts and incorporates by reference all of the facts and allegations set

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ama 1002 forth in paragraphs l through 228 above, and further alleges that:
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ROCKV.L,_E, MD 20852 229. This declaratory judgment action is brought for the purpose of determining
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mr 30‘-@8'“6‘32 questions of actual controversy between the parties and terminating uncertainty and controversy
some 301
mm “OO EU‘LD"“G giving rise to this proceeding

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301_“59_8400 230. Specifically, there exists an actual controversy regarding a justiciable issue

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between Plaintiff and Defendants within the jurisdiction of this Court involving whether these

 

Defendants are the legal and/or equitable holders of title to Plaintiff’ s properties Plaintiff, Cesar

§ Day, contends that he is entitled to legal and/or equitable title on the basis of lack of adequate

consideration, fraud, unconscionablity, rescission and violation of both Maryland and F ederal
statutes

231. Defendants contend that they are the lawful title holders of the properties at issue

232. Antagonistic claims are present between the parties which indicates imminent and
inevitable litigation

233. Plaintiff, Cesar Day, is entitled to a judgment declaring his rights and

responsibilities under the contracts between the parties and further settling the legal relations of
the parties

WHEREFORE, Plaintiff, Cesar Day, respectfully requests:

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wm 400 §§ a. Judgement that none of the Defendants are the lawful title holders to the

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properties at issue;

 

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b. Judgement that any Promissory Notes or Deeds of Trusts related to the
::::A:::i:A:: ::; 101 t transfer/sale of PlaintifF s properties to Defendants be declared null and void and
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m 703‘82@'063@ of no further force and effect;
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tol::®::"€::’l`;:“:z:€ c. Judgement that the Deeds related to the transfer/ sale of Plaintiff’ s properties to

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301`770~3737 Defendants be declared null and void and of no further force and effect;

 

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ama 301 d. 'l`hat the Deeds of Trust liens on Plaintiffs properties be declared null and void
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…m@»,/ER MD was y and of no further force and effect; and
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FA><~» 301-4§9*'364 e. Judgement vesting title to the properties at issue in the sole name of Cesar Day.
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COUNT IX

Punitive Damages

(Defendants, Brian Pettiford, David Murrell, DB Capital, Tracey L. Spain, Ralph I). Spain,

Sr., Russell Pettiford, RTS, Integrity, Millennium Bank, NA, Millennium Bankshares
Corporation, Wachovia Bank, NA, and Wells F argo & Company, NA)

Plaintiff hereby adopts and incorporates by reference all of the facts and allegations set

forth in paragraphs l through 233 above, and further alleges that:

234. Defendants knowingly engages in a purposeful scheme to mislead and

fraudulently induce the Plaintiff to transfer title to his properties as well as the significant equity

contained in such properties

235. At that time, the Defendants made misrepresentations, inducements and actions in

furtherance of the scheme knowing that such misrepresentations, inducements and actions were

false and intending for Plaintiff to rely upon the same to his detriment

236. Defendants engaged in a common fraudulent scheme, made misrepresentations,
false inducements and undertook fraudulent actions in furtherance of their scheme to defraud
Plaintiff with malicious intent and With the goal of reaping significant and illegal profit from
every part of the transaction

WHEREFORE, Plaintiff demands judgement against Defendants, Brian V. Pettiford,
David Alan Murrell, DB Capital Group, LLC, Tracey L. Spain, Ralph D. Spain, Russell
Pettiford, Realty Title of Tysons, Inc., lntegrity Financial, Inc., Millennium Bard<, NA,
Millennium Bankshares Corporation, Wachovia Banl<, NA, and Wells Fargo & Company, NA,

jointly and severally as follows:

a. Compensatory damages in the amount of ONE MILLION DOLLARS

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($l ,()O0,000.00);

b. Punitive/exemplary damages in the amount of ONE MILLION DOLLARS
($1,0()0,0()0.00);

c. Judgrnent declaring the Deed to the Bowie Property dated April 27, 2007,
transferring title from Cesar Day to Ralph Spain, null and void.

d. Judgment declaring the Deed to the Baltimore Property dated l\/Iay 16, 2007,
transferring title from Cesar Day to Tracey Spain null and void.

e. Judgement declaring the Deed to the D.C. Property dated May 18, 2007,
transferring title from Cesar Day to Brian Pettiford and Russell Pettiford null and
void.

f. Attorney’s fees and costs of litigation, interest and any other such further relief as

the Court deems appropriate

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Respectfully submitted,

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2900 L. S`TREET, N.\Nv

wAsHtNGToN, t).c. zones ASHCRAFT &"G'E:REL LLP/`

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703_93..5500 ` Sidney Schugai<, Esq. #SCO467
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